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 EXHIBIT 65
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 __________________________________

                          Robert Layton
                         February 23, 2023
 __________________________________

                          Progeny, et al.
                                   vs.

                   City of Wichita, Kansas
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1            IN THE UNITED STATES DISTRICT COURT

2                 FOR THE DISTRICT OF KANSAS

3

4     PROGENY, a program of                  )

5     Destination Innovations,               )

6     Inc., CHRISTOPHER COOPER,              )

7     ELBERT COSTELLO, MARTEL                ) Case No. 6:21-CV-

8     COSTELLO, and JEREMY LEVY,             ) 01100-EFM-ADM

9     JR., on behalf of themselves           )

10    and others similarly situated, )

11    Plaintiffs,                            )

12    vs                                     )

13    CITY OF WICHITA, KANSAS,               )

14    Defendant.                             )

15    _______________________________)

16                      ZOOM DEPOSITION OF

17                            ROBERT LAYTON

18                      February 23, 2023

19                               8:31 a.m.

20

21

22

23

24

25    Kathy R. Bonfiglio, CSR-KS, CSR-MO, RPR



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1             A.    Yes.

2             Q.    Do you have any understanding, sir, as

3     to how the Wichita Police Department assesses

4     admissions by people with regard to criminal street

5     gang membership?

6             A.    I don't have any detailed information.

7     I believe from our meeting that we had with council

8     member Johnson there was some reference to social

9     media representation but that's all I really

10    remember from that meeting.

11            Q.    Do you recall specific concerns that

12    were suggested at that meeting about social media

13    representations?

14            A.    That was one way of identifying someone

15    who self-identified as a member of a gang.

16            Q.    And your understanding, sir, do you

17    know whether that would be sufficient for

18    identifying somebody as admitting to membership in

19    a criminal street gang?

20            A.    I don't know.    That would be more of a

21    legal answer.

22            Q.    Has there been any assessment, sir, by

23    your office into the standards used for assessing

24    whether somebody has admitted to membership in a

25    criminal street gang?



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